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                                                                            May 19, 2023



                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA



 In the Matter of the Creation of the                )
 Calendar                                            )   ORDER OF THE CHIEF JUDGE
                                                     )               23-052
 of                                                  )
                                                     )
 Judge WESLEY L. HSU                                 )
                                                     )

        Pursuant to the recommended procedure adopted by the Court for the creation of the

 calendar of Judge Wesley L. Hsu,

        IT IS HEREBY ORDERED that the following cases are hereby transferred from the

 calendar of Judge Fred W. Slaughter to the calendar of Judge Wesley L. Hsu:

       2:21-cv-09509-FWS-MARx           Andre Olivas v. County of Los Angeles, et al
       2:22-cv-08736-FWS-ASx            Sealed v. Sealed
       2:23-cv-01652-FWS-RAO            Luis Alberto Corado Polanco v. W.Z. Jenkins, et
                                        al
       2:23-cv-02241-FWS-RAO            Clifford C. Loyer v. Unknown
       5:21-cv-01994-FWS-JCx            Maria Blanca Perez v. Nordstrom, Inc. et al
       5:22-cv-01493-FWS-ASx            Richard Rodriguez v. National Distribution
                                        Centers, LLC et al
       8:22-cv-01076-FWS-KESx           Banafsheh Soleimani v. B. Braun Medical Inc., et
                                        al
       8:22-cv-01211-FWS-JDEx           Rebecca Mojica v. Wal-Mart Associates, Inc., et
                                        al
       8:22-cv-01559-FWS-KESx           Juan Martinez v. Hyundai Motor America et al
       8:22-cv-01764-FWS-DFMx           Russell Jumper v. SBGA, Inc. et al
       8:22-cv-02031-FWS-JDEx           Revital Gallen v. Liberty Life Assurance
                                        Company of Boston, et al
       8:22-cv-02228-FWS-ADSx           Juan Arroyo v. Nissan North America, Inc.
       8:23-cv-00515-FWS-ADSx           Hoda Issa v. Wayfair LLC
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 In the Matter of the
 Creation of Calendar for
 District Judge Wesley L. Hsu                                                          2


       8:23-cv-00717-FWS-DFMx          Sara Dashti v. Anthony Blinken, et al

        On all documents subsequently filed in the case, please substitute the Judge initials

 WLH after the case number in place of the initials of the prior Judge.



 DATED: May 19, 2023
                                                     Chief Judge Philip S. Gutierrez
